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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                  CHARLESTON DIVISION


WILLIAM DURAN SPEIGHT,

                              Petitioner/Movant,

v.                                                   CIVIL ACTION NO. 2:02-1182
                                                     (Criminal No. 2:99-00189-01)

UNITED STATES OF AMERICA,

                              Respondent.


                         MEMORANDUM OPINION AND ORDER


       Pending before the court are the petitioner’s request for clarification of memorandum order

[Docket 390], notice and request for an extension or enlargement of time [Docket 391], motion for

reconsideration of memorandum order denying motions to amend and/or supplement his § 2255

petition [Docket 392], and request to amend his motion for reconsideration of the Magistrate Judge’s

memorandum order dated March 2, 2005 [Docket 397]. This action was referred to the Honorable

Mary E. Stanley, United States Magistrate Judge, for submission to this court of proposed findings

of fact and recommendation for disposition, pursuant to 28 U.S.C. § 636(b)(1)(B). The Magistrate

Judge has submitted findings of fact and recommended that the court deny the petitioner’s motions.

       The court has received and reviewed the petitioner’s objections to Magistrate Judge Stanley’s

proposed findings and recommendations. The court FINDS that the petitioner’s objections are

without merit.

       Accordingly, the court ADOPTS and incorporates herein the findings and recommendation

of the Magistrate Judge, and DENIES the petitioner’s motions.
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       The court DIRECTS the Clerk to send a certified copy of this Order to Magistrate Judge

Stanley, counsel of record, and any unrepresented party.

                                            ENTER: December 28, 2005
